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                                        ORIGINAL                  }




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      Attorneys for Defendants ALEXANDER PEREZ and MARY D. SCARFF
UL_ 7
    8                         UNITED STATES DISTRICT COURT
    9                        SOUTHERN DISTRICT OF CALIFORNIA
   10   DARREN CHAKER,
                                                    Case No. 16cv 1872 CAB BLM
   11
                Plaintiff,
   12                                               Hearing Date: July 17,2017
        v.                                          Hearing Time:
   13
        LEESA FAZAL, in her personal capacity Ctrm: 4C
   14                                               Hon. CATHY ANN BENCIVENGO
        and in her official capacity as an
   15   employee with the Attorney General of
                                                    MEMORANDUM OF POINTS AND
        the State of Nevada, ADAM PAUL
   16                                               AUTHORITIES IN SUPPORT OF
        LEXALT, in his official capacity as the
   17                                               DEFENDANTS ALEXANDER
        Attorney General for the State of
                                                    PEREZ’ AND MARY D. SCARFF’S
   18   Nevada, CITY OF NORTH LAS
                                                    MOTION TO DISMISS
        VEGAS, ALEXANDER PEREZ, in his
   19                                               PLAINTIFF’S COMPLAINT FOR
        official capacity as the Chief of Police of
                                                    DAMAGES PURSUANT TO
   20   the North Las Vegas Police Department,
                                                    FED.R.CIV.P. 12(b)(2)-(3), (b)(5)-(6)
        MARY D. SCARFF, in her official
   21   capacity as Police Records Supervisor
   22   for the North Las Vegas Police
   23   Department, DAVID J. SULTZBAUGH
                                                    [PER CHAMBERS RULES, NO
        in his official capacity as Chief of the
   24                                               ORAL ARGUMENT UNLESS
        United States Probation Officer,
                                                    SEPARATELY ORDERED BY THE
   25   ELIZABETH SIMONS, in her individual
        and official capacity as an employee of     COURT]
   26   the United States Probation Office,
   27   SEAN QUINTA, in his individual and
   28   official capacity as an employee of the
                                                i         Case No. 16cv 1872 CAB BLM
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 1   United States Probation Office,
     CARLOS HERNANDEZ, in his
2    individual and official capacity as an
3    employee of the United States Probation
     Office, Does 1-50,
4
 5           Defendants.
 6
 7          Defendants ALEXANDER PEREZ and MARY D. SCARFF present the
 8   following Memorandum of Points and Authorities in support of their Motion to
 9   Dismiss Plaintiffs Complaint for Damages Pursuant to Fed. R. Civ. P. 12(b)(2)-
10   (3), (b)(5)-(6).
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13   III
14   III
15   III
16   III
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18   III
19   III
20   III
21   III
22   III
23   III
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25   III
26 III
27   III
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
2                                               I.
3                                     INTRODUCTION
4          Plaintiff Darren Chaker (“Plaintiff’) filed a Complaint against the City ol
 5   North Las Vegas Police Department’s Police Chief Alexander Perez (“Defendant
 6   Perez”), the City of North Las Vegas Police Department Custodian of Records
 7   Mary D. Scarff (“Defendant Scarff’) and several other defendants on July 22,
 8   2016. Plaintiff filed this sealed action in the United States District Court for the
 9   Southern District of California; however, this Court lacks personal jurisdiction
10   over Defendants Perez and Scarff, and this is the improper venue for any action
11   against them arising out of Plaintiffs allegations. Further, this action was nol
12   served within the required time period under Fed. R. Civ. P. 4(m), and there is no
13   good cause as to why the action was served so far beyond the required time.
14   Finally, this action is barred by the statute of limitations. For these reasons,
15   Plaintiffs Complaint against Defendants Perez and Scarff must be dismissed in its
16   entirety pursuant to Fed. R. Civ. P. 12(b)(2), (b)(3), (b)(5), and (b)(6).
17                                             II.
18                 FACTUAL AND PROCEDURAL BACKGROUND
19          Plaintiff filed his meandering 87-page Complaint on July 22, 2016, opening
20   this lawsuit as a sealed case.1 While much of the Complaint is muddled, several

21   facts about this lawsuit are exceedingly clear.
22       First, Plaintiff did not serve Defendant Perez and Defendant Scarff with the
     Complaint until April 10, 2017.2 Plaintiff did not provide Defendants any reason
23
24   for his delay in service.
25
26
27   iDefendants are unaware of any motion to file the case as a sealed case or why this
28   case is sealed.
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                               :




 1         Second, Plaintiff alleged that Defendant Scarff released a sealed police
 2   report to Nevada Attorney General Investigator Leesa Fazal (“Nevada AG
 3   Investigator” or “Defendant Fazal”) in July of 2013. See “Complaint for
 4   Damages,” at 15:15-19. Plaintiff alleged that Defendants knew that Plaintiff lived
 5   in California due to previous litigation with the City in 2010. Plowever, the alleged
 6   harm occurred in 2013, and Plaintiff has not supported his allegation that the City
 7   knew that he was in California in 2013. Further, this is unrelated to the fact that the
 8   alleged release of the report took place in Nevada between Nevada agencies. The
 9   North Las Vegas Police Department allegedly produced the report to the Nevada
10   AG Investigator. See “Complaint for Damages,” at 16:6-7. Plaintiff has pled no
11   facts to show that Defendant Scarff produced the report knowing that it would be
12   used for a California hearing. Defendants Perez and Scarff had no contacts with
13   California relating to this alleged release of information. See “Complaint for
14   Damages,” at 64:19-28.
15         Third, Plaintiff allegedly found out about the North Las Vegas Police
16   Department report being produced on July 22, 2013, as it was allegedly included in
17   Defendant Fazal’s “confidential report” referenced in the Complaint. Plaintiff
18   received an unredacted version of this “confidential report” on or about August 1,
19   2013. See “Complaint for Damages,” at 12:18-22. This was almost four years ago.
20          Although Plaintiffs allegations are muddled in the 87-pages of Plaintiffs
21   stream of consciousness Complaint, it is clear from the factual allegations
22   described above that Plaintiffs claims against Defendants Perez and Scarff must
23   be dismissed with prejudice.
24
25
26 2 Plaintiff has failed to serve the City of North Las Vegas and failed to serve his
27 full Complaint on Defendants Perez and Scarff who did not receive the exhibits to
28 the complaint.
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 1                                                III.
2                                        ARGUMENT
3          After a cursory review of Plaintiffs Complaint, the claims against
4    Defendants Perez and Scarff should be dismissed in their entirety for four reasons:
5    1) this Court has no personal jurisdiction over Defendants, 2) venue is not proper,
6    3) Plaintiff failed to timely serve his Complaint, and 4) Plaintiffs claims are barred
7    by the applicable statutes of limitations.
8          A. This Court has no personal jurisdiction over Defendants Perez and
9             Scarff.

10         This Court should dismiss all claims against Defendants Perez and Scarff
11   because it does not have personal jurisdiction. After a defendant files a motion to
12   dismiss pursuant to Fed. R. Civ. P. 12(b)(2), the plaintiff bears the burden of proof
13   to establish that the court has personal jurisdiction. CollegeSource, Inc. v.
14   AcademyOne, Inc., 653 F.3d 1066, 1073 (9th Cir. 2011). “Where, as here, the
15   defendant’s motion is based on written materials rather than an evidentiary
16   hearing, ‘the plaintiff need only make a prima facie showing of jurisdictional facts
17   to withstand the motion to dismiss.’” Id. (quoting Brayton Purcell LLP v.
18   Recordon & Recordon, 606 F.3d 1124, 1127 (9th Cir.2010)). When a defendant
19   files a motion to dismiss the plaintiffs complaint, plaintiff must put forward some
                                                                                          th
20   evidence supporting personal jurisdiction. Scott v. Breeland, 792 F.2d 925, 927 (9
21   Cir. 1986).
22          If there is no federal statute authorizing personal jurisdiction, then the court
23   should apply the law of the state where it sits to determine whether it has personal
24   jurisdiction. CollegeSource, 653 F.3d at 1073. “California’s long-arm statute is
25   ‘coextensive with the outer limits of due process under the state and federa
26   constitutions, as those limits have been defined by the United States Supreme
27   Court,”’ and so the court must consider the requirements of due process. TV Ears,
28
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 1   Inc. v. SYK Grp., LLC, No. 16CV867-GPC(WVG), 2016 WL 6248539, at *3 (S.D.
2    Cal. Oct. 26, 2016) (slip copy) (citing Republic Int'l Corp. v. Amco Eng'rs, Inc.,
3    516 F.2d 161, 167 (9th Cir. 1976)) and (quoting Threlkeld v. Tucker, 496 F.2d
4    1101, 1103 (9th Cir. 1974)). In reviewing a personal jurisdiction challenge, the
 5   California courts must determine whether the notions of fair play and substantial
6 justice under a due process analysis have been met. Id. “Personal jurisdiction can
 7   be either ‘general’ or ‘specific.’” Id. at *3 (citing Helicopteros Nacionales de
 8   Colombia, S.A. v. Hall, 466 U.S. 408, 415-16 (1984)).
 9         In this case, there is no general or specific jurisdiction as Defendants Perez
10   and Scarff have no minimum contacts with California and have not availed
11   themselves of jurisdiction in California through the actions alleged by Plaintiff.
12   This reason is enough to warrant dismissal of all claims against Defendants Perez
13   and Scarff.
14              1. This Court lacks general jurisdiction over Defendants Perez
                    and Scarff because neither of them are domiciled in California
15
                    and neither has continuous or systematic contacts with
16                  California.
17         General jurisdiction is established if the defendant is domiciled in the forum
18   state, or if the defendant’s activities in the forum state are “substantial” or
19   “continuous and systematic.” TV Ears, Inc., 2016 WL 6248539, at *3. To rise to
20   “substantial” or “continuous and systematic,” the defendant’s level of contacts with
21   the forum state must be high enough that it “approximate^] physical presence.”
22   Lisa McConnell, Inc. v. Idearc, Inc., No. 09-CV-00061-IEG(AJB), 2010 WL
23   364172, at *3 (S.D. Cal. Jan. 22, 2010) (quoting Bancroft & Masters, Inc. v.
24   Augusta Nat. Inc., 223 F.3d 1082, 1086 (9th Cir. 2000) holding modified by
25   Yahoo! Inc. v. La Ligue Contre Le Racisme Et L'Antisemitisme, 433 F.3d 1199 (9th
26   Cir. 2006)).
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 1         Defendants Perez and Scarff work for the North Las Vegas Police
2    Department in Nevada and are both domiciled in Nevada.          Their work is in
3    Nevada, and they have no business in California. The records that were allegedly
4    released were from the North Las Vegas Police Department to the Nevada AG
5    Investigator. Defendants Perez and Scarff have no substantial or continuous oi
6    systematic contacts with California.
7          Therefore, this Court lacks personal jurisdiction over Defendants Perez and
 8   Scarff, and the case against them should be dismissed.
 9                 2. This Court Lacks Specific Jurisdiction Over Defendants Perez
                      and Scarff Because Neither Had Contact With the Forum State
10                    or Directed Activities Toward the Forum State.
11          Specific jurisdiction can be established if the claim against a defendant
12   arises out of a defendant’s contact with the forum state, and if the defendant
13   purposefully directed those activities in the forum state. Weaver v. Johnson &
14   Johnson, Ethicon, Inc., No. 16CV00257GPCBGS, 2016 WL 1668749, at *4 (S.D.
15   Cal. Apr. 27, 2016) (citing Helicopteros Nacionales de Colombia, S.A., 466 U.S. at
16   414; Walden v. Riore, 134 S. Ct. 1115, 1121 (2014); and Goodyear Dunlop Tires
17   Operations, S.A. v. Brown, 564 U.S. 915, 919, 131 S. Ct. 2846, 2851, 180 L. Ed.
18   2d 796 (U.S. 2011)). The Ninth Circuit uses a three factor test to determine
19   whether the court has specific jurisdiction over a defendant:
20               “ ‘(1) the defendant has performed some act or
21               consummated some transaction within the forum or
                 otherwise purposefully availed himself of the privileges
22               of conducting activities in the forum, (2) the claim arises
23               out of or results from the defendant's forum-related
                 activities, and (3) the exercise of jurisdiction is
24
                 reasonable.  3 33


25   Silva v. Gonzales, No. 3:13-CV-1587-CAB-KSC, 2014 WL 12663140, at *7 (S.D.
26   Cal. May 23, 2014), affd, 667 F. App'x 967 (9th Cir. 2016) (quoting Bancroft &
27   Masters, Inc., 223 F.3d at 1086). The plaintiff has the burden of proving the firsl
28
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1    two factors, and if he does, then the burden shifts to the defendant to give
2    compelling reasons why the exercise of jurisdiction is not reasonable and violates
3    due process. Phillips v. Hernandez, No. 12-CV-748-MMA WMC, 2012 WL
4    5185848, at *4 (S.D. Cal. Oct. 18, 2012). “[I]f the plaintiff fails at the first step,
5    the jurisdictional inquiry ends and the case must be dismissed.” Boschetto v.
6    Homing, 539 F.3d 1011,1016 (9th Cir. 2008).
7
                        i.     Defendants Perez and Scarff did not Perform any Act
8                              or Consummate Any Transaction Within the Forum
9                              or Otherwise Purposefully Avail Themselves of the
                               Privileges of Conducting Activities in the Forum.
10
11         Under the first prong of the test, the court must examine whether the
12   defendant’s actions were purposefully directed at the forum state. Specifically, “the
13   defendant must have (1) committed an intentional act, which was (2) expressly
14   aimed at the forum state, and (3) caused harm, the brunt of which is suffered and
15   which the defendant knows is likely to be suffered in the forum state.” Bancroft &
16   Masters, Inc., 223 F.3d at 1087.
17         While the act of producing a report is an intentional act, Defendant Scarff s
18   alleged release of the report to the Nevada AG Investigator shows that the alleged
19   act does not avail Defendants Scarff and Perez of jurisdiction in California. The
20   “expressly aimed” portion of the test is met if the defendant engaged in conduct
21   targeted at a plaintiff the defendant knew to be a resident of the forum state.
22   CollegeSource, Inc., 653 F.3d at 1077.
23         Plaintiff alleged in his Complaint that Defendants knew that Plaintiff lived in
24   California after previous litigation with Plaintiff in 2010. However, the harm to
25   Plaintiff in this case took place in 2013. Plaintiff has not pled or attached exhibits
26   to his Complaint to show that Defendants specifically knew where Plaintiff was in
27   2013. Defendants receive several requests for records daily. Defendants would
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1    have no reason to believe that disclosing a report to a Nevada AG Investigator at
2    the Nevada Attorney General’s Office, would cause harm in California to the
3    subject of a police report made in North Las Vegas, Nevada.
4          Therefore, Plaintiff has failed to meet the first prong of the specific
5 jurisdiction test. Lack of specific jurisdiction is sufficient grounds for dismissing
6    all claims against Defendants Perez and Scarff.
7                        u.    Defendants Have not Conducted Any Forum-Related
                               Activities, and the Exercise of Jurisdiction would be
8                              Unreasonable.
9            Plaintiffs claim against Defendants Perez and Scarff arises out of the
10   alleged release of information to Nevada AG Investigator Fazal. This is the only
11   extent to which Defendants are involved in this litigation. None of Defendants
12   alleged activities were conducted in the forum, directed at the forum, or meant to
13   affect the forum state in any way.
14          Further, if the Court found that Plaintiff meets the first two factors of the
15   specific jurisdiction test, jurisdiction would still be unreasonable and violate due
16   process. In determining whether jurisdiction would be unreasonable and violate
17   due process, the Ninth Circuit looks at seven factors:
18               (1) the extent of the defendants' purposeful injection into
                 the forum state's affairs; (2) the burden on the defendant
19               of defending in the forum; (3) the extent of the conflict
20               with the sovereignty of the defendant's state; (4) the
21               forum state's interest in adjudicating the dispute; (5) the
                 most efficient judicial resolution of the controversy; (6)
22               the importance of the forum to the plaintiffs interest in
23               convenient and effective relief; and (7) the existence of
                 an alternative forum.
24
     CollegeSource, Inc., 653 F.3d at 1079 (citing Dole Food Co. v. Watts, 303 F.3d
25
26   1104,1114 (9th Cir. 2002)).
           Under the first, third, fourth, fifth, sixth, and seventh factors, it is clear that
27
     jurisdiction is unreasonable. Defendants’ alleged actions were conducted within
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1    Nevada between the Nevada AG Investigator and the North Las Vegas Police
2    Department. There would be no indication that a transaction between these
3    agencies would cause harm in another state. If Plaintiffs allegations are true, the
4    harm caused to Plaintiff by Defendants Perez and Scarff was in Nevada and under
5    Nevada law. Plaintiffs Complaint specifically references that the alleged actions
6    by Defendant Scarff would violate Nevada law. This is a Nevada matter, having
 7   nothing to do with California. The additional claims against the other defendants
 8   go beyond the claims that Plaintiff has made against Defendants Perez and Scarf!
 9   and could be litigated separately in California.
10         Under the second factor, this would cause a huge burden on Defendants
11   because Defendants live and work in Nevada, conduct all of their work in Nevada,
12   and do not have any work contacts in the forum. Defending litigation in California
13   would burden the City financially.
14         Therefore, for the foregoing reasons, the United States District Court for the
15   Southern District of California does not have personal jurisdiction over Defendants
16   Perez and Scarff, and all claims against Defendants Perez and Scarff should be
17   dismissed pursuant to Fed. R. Civ. P. 12(b)(2).
18         B. Venue is Not Proper.
19         Plaintiffs claims against Defendants Perez and Scarff should be dismissed

20   pursuant to Fed. R. Civ. P. 12(b)(3) because venue is not appropriate in this

21   District as Defendants Perez and Scarff do not live in California, did not have

22   anything to do with California, even in the facts alleged by plaintiff, and this action

23   could have been brought against them in Nevada. Plaintiff also bears the burden ol

24   establishing venue. Silva, No. 3:13-CV-1587-CAB-KSC, 2014 WL 12663140, at
25   *10. Federal law governs venue under 28 U.S.C. § 1391(b). Under this statute,
26   venue is proper in:
27
28
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                             V ,




                 (1) a judicial district in which any defendant resides, if all
 1
                 defendants are residents of the State in which the district
2                is located;
3                (2) a judicial district in which a substantial part of the
                 events or omissions giving rise to the claim occurred, or a
4                substantial part of property that is the subject of the
 5               action is situated; or
                 (3) if there is no district in which an action may
 6               otherwise be brought as provided in this section, any
 7               judicial district in which any defendant is subject to the
 8               court's personal jurisdiction with respect to such action.
           If the court finds that venue is improper, it may dismiss or transfer the action
 9
     to the proper district pursuant to 28 U.S.C. § 1406(a).
10
           The 28 U.S.C. § 1391(b) factors show that venue is not appropriate in this
11
     District. Defendants Perez and Scarff do not reside in California, and do not
12
     conduct any business in California. The alleged grievance that Plaintiff has againsl
13
     Defendants Perez and Scarff arises out of a transaction that occurred in Nevada,
14
     specifically that Defendant Scarff of the North Las Vegas Police Department
15
     allegedly released a sealed police report to the Nevada AG Investigator in 2013.
16
           Even if the Court finds that it has personal jurisdiction over Defendants
17
     Perez and Scarff, this action against them could have been commenced in Nevada,
18
     and therefore, at the very least should be transferred to the United States District
19
     Court for the District of Nevada. However, based on the numerous deficiencies of
20
     Plaintiffs Complaint, this action should be dismissed in its entirety against
21
     Defendants Perez and Scarff.
22
23         C. Plaintiff Failed to Timely Serve his Complaint.
24         Plaintiff failed to timely serve his Complaint within the 90-day period

25   required under Fed. R. Civ. P. 4(m), which is a sufficient legal basis to dismiss all

26   claims against Defendants Perez and Scarff. Plaintiff commenced this action on

27   July 22, 2016, as shown by the file stamp in the top right comer of his Complaint.

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 1   Thus, Plaintiff was required to serve Defendants Perez and Scarff by October 22,
 2   2016, but he failed to do so.
 3         Pursuant to Fed. R. Civ. P. 4(m), once an action has been commenced, the
 4   plaintiff has 90 days to serve his complaint. If this deadline is not met, the
 5   defendant in the action can bring a motion to dismiss pursuant to Fed. R. Civ. P.
 6   12(b)(5) for insufficient service of process, which shifts the burden to the plaintiff
 7   to prove that Fed. R. Civ. P. 4(m) has been met either by timely service or by
 8   showing good cause as to why the timely service was not met. Macpherson v.
 9   United States, No. 3:15-CV-0769-BEN-AGS, 2017 WL 766722, at *1 (S.D. Cal.
10   Feb. 28, 2017). The Court has the discretion to determine whether the plaintiff has
11   met the burden or whether to dismiss the action. Id.
12         Plaintiff has sealed this entire case, and Plaintiff has not provided any reason
13   for this. Because the case is sealed, Defendants do not have access to any
14   documentation that has been filed in the case other than what Plaintiff has
15   provided. So far, Plaintiff has only provided his Complaint without any of the
16   exhibits and waiver of service forms. Defendants are public officials, and Plaintiff
17   should have been able to locate and timely serve Defendants.
18         In this case, the Complaint was filed on July 22, 2016. Plaintiff had 90 days
19   from that date in which to serve Defendants, which would have been on or about
20   October 22, 2016. Defendants were served on April 10, 2017, which was almost
21   seven months late. Plaintiff did not provide any motion or documentation from the
22   Court showing that he had extended the time in which to serve the Complaint.
23          Further, there is no good reason for Plaintiffs delay, because Plaintiffs
24   attempt to effectuate service was to mail the Complaint to Defendants Perez and
25   Scarff and request a waiver of service form. Plaintiff had no excuse to fail to locate
26   public officials, and obviously had no trouble as the documents were ultimately
27   mailed.
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 1         Therefore, Plaintiffs Complaint should be dismissed for insufficient service
2    of process because Plaintiff has delayed service of the Complaint upon Defendants
3    Perez and Scarff far past the 90-day deadline required under Fed. R. Civ. P. 4(m).
4          D. Plaintiffs Claims are Barred by the Statute of Limitations.
 5         This Court should dismiss all of Plaintiffs claims against Defendants Perez
 6   and Scarff because these claims are barred by the applicable statute of limitations.
 7   Although Plaintiff s claims against Defendants Perez and Scarff are muddled in his
 8   Complaint, his claims are barred by the statute of limitations. Plaintiff seems to
 9   allege three claims against Defendant Scarff: 1) a civil rights violation under 42
10   U.S.C. § 1983, 2) invasion of privacy, and 3) negligence. Plaintiff appears to allege
11   two claims against Defendant Perez: 1) a civil rights violation under 42 U.S.C. §
12   1983 for failure “to supervise, train, or create policy and procedure forcing
13   compliance with Nevada law to prevent the disclosure of sealed police reports
14   absent a statutorial obligation to produce such reports,” and 2) negligence. See
15   “Complaint for Damages,” at 17:15-17 and 76:7-10. Each of these claims was
16   brought after the expiration of the applicable statute of limitations.
17         A dismissal of a plaintiffs complaint is appropriate pursuant to Fed. R. Civ.
18   P. 12(b)(6) where the plaintiffs claims are barred by the statute of limitations.
19   Vedachalam v. Tata Am. Int'l Corp., No. C 06-0963 VRW, 2010 WL 11484815, al
20   *6 (N.D. Cal. Feb. 4, 2010). In Bell Atlantic Corp. v. Twombly, the United States
21   Supreme Court stated that a motion to dismiss should be granted when the
22   allegations in a complaint cannot raise a claim of entitlement to relief, and further,
23   that “this basic deficiency should ... be exposed at the point of minimum
24   expenditure of time and money by the parties and the court.” 550 U.S. 544, 570,
25   127 S. Ct. 1955, 1974 (2007) (internal quotations omitted). In this case, a motion
26   to dismiss is appropriate because all of the claims against Defendants Perez and
27   Scarff are barred by the applicable statute of limitations.
28
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                             o
 1         Plaintiffs civil rights claims are barred by the two-year statute of
 2   limitations. “Actions predicated upon § 1983 are governed by the state statute of
 3   limitations for personal injury actions.” Wade v. Ratella, 407 F. Supp. 2d 1196,
 4   1203 (S.D. Cal. 2005). Like in Nevada, the statute of limitations for a 42 U.S.C. §
 5   1983 civil rights claim in California is two years. Id. (citing Maldonado v. Harris,
 6   370 F.3d 945, 954 (9th Cir.2004) and Cal. Civ. Proc. § 335.1 (West Supp.2004)).
 7   A civil rights claim accrues when a party knows or has reason to know of the
 8   injury which is the basis of his or her claim. Kimes v. Stone, 84 F.3d 1121, 1128
 9   (9th Cir. 1996).
10         In this case, Plaintiffs claims arise from Defendant Scarff allegedly
11   releasing a police report to the Nevada AG Investigator in July of 2013. Based on
12   these facts, Plaintiff knew or had reason to know of the alleged injury on that date,
13   and he should have filed suit by July of 2015 at the latest. Plaintiffs Complainl
14   was filed on July 22, 2016, which is one year late.
15         Plaintiffs invasion of privacy and negligence claims are also barred by the
16   two-year statute of limitations. The California Code of Civil Procedure § 335.1
17   governs the statute of limitations for torts. Cal. Civ. Proc. Code § 335.1 (West).
18   Just like the negligence claim, Plaintiffs invasion of privacy claim falls under §
19   335.1 because it is a personal injury claim. Mireskandari v. Daily Mail & Gen.
20   Trust PLC, No. CV1202943MMMSSX, 2013 WL 12114762, at *15 (C.D. Cal.
21   Oct. 8,2013).
22         Again, Plaintiffs claims against Defendants Perez and Scarff arise from
23   Defendant Scarff allegedly releasing a police report to the Nevada AG Investigator
24   in July of 2013. Based on these facts, Plaintiff knew or had reason to know of the
25   alleged injury on that date, and he should have filed suit by July of 2015 at the
26   latest. Plaintiffs Complaint was filed on July 22, 2016, which is one year late.
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 1         All of Plaintiff s claims against Defendants Perez and Scarff were filed more
2    than one year after the statute of limitations lapsed; consequently, all of Plaintiff s
3    claims against Defendants Perez and Scarff should be dismissed in their entirety
4    with prejudice.
5                                             IV.
6                                      CONCLUSION
7          For the foregoing reasons, this Court should dismiss Plaintiffs’ Complaint
 8   against Defendants Perez and Scarff in its entirety with prejudice.
 9         DATED this                  day of June, 2017.
10
                                      NORTH LAS VEGAS CITY ATTORNEY
11
12                                  b7)71A                                 ____
                                      Micaela C. Rustia Moore
13                                    Attorneys for Defendants
                                      Alexander Perez and Mary D. Scarff
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